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SECTION III - DESIGNATION OF LOCAL COUNSEL

 Aftenzood. Aaron D.
 Designee's Name (Last Name, First Name & Middle Initial)
 The Afterllood Law Firm
 Firm/Agency Name

 1880 CenturY Park East                                            310-551-522]                         310-496-2840
                                                                   Telephone Number                     Fax Number
 Street Address                                                    aaron@laftergoodesa.com
                                                                   B-maiI Address
 Los Anlleles. California 90067
 City, State, Zip Code                                             239853
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.
               Dated
                       --~~---------------




SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




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